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   5
   6   Attorneys for Secured Creditor
       HSBC Bank USA, National Association as Trustee
   7   for Sequoia Mortgage Trust 2004-9
   8                                  UNITED STATES BANKRUPTCY COURT
   9                 CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
  10       In re                                                        Case No. 2:20-bk-17469-SK
  11       EMMA I. OCAMPO,                                              Chapter 13
  12                                                                    OBJECTION TO CONFIRMATION OF
                           Debtor.                                      CHAPTER 13 PLAN
  13
                                                                        341(a) MEETING:
  14                                                                    DATE:       September 25, 2020
                                                                        TIME:       9:00 AM
  15                                                                    PLACE:      VIDEO CONFERENCE
  16                                                                    CONFIRMATION HEARING:
                                                                        DATE:    December 10, 2020
  17                                                                    TIME:    10:00 AM
                                                                        CTRM:    1575
  18
  19

  20               HSBC Bank USA, National Association as Trustee for Sequoia Mortgage Trust 2004-91

  21 (hereinafter “Creditor”), secured creditor of the above-entitled debtor, Emma I. Ocampo (hereinafter
  22 “Debtor”), hereby objects to the Chapter 13 Plan filed by Debtor in the above-referenced matter. The

  23 objection is based on Creditor’s Proof of Claim No. 2, the authorities cited herein and on such

  24 additional submissions and argument as may be presented at or before the confirmation hearing.
  25

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       1
        This Objection to Confirmation of Chapter 13 Plan shall not constitute a waiver of the within party’s right to receive
       service pursuant to Fed. R. Civ. P. 4, made applicable to this proceeding by Fed. R. Bankr. P. 7004, notwithstanding
  28   Aldridge Pite, LLP’s participation in this proceeding. Moreover, the within party does not authorize Aldridge Pite, LLP,
       either expressly or impliedly through Aldridge Pite, LLP’s participation in this proceeding, to act as its agent for purposes
       of service under Fed. R. Bankr. P. 7004.
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   1                                                1) INTRODUCTION
   2              Creditor respectfully requests that the Court deny confirmation of the Debtor’s Chapter 13

   3 Plan as it fails to properly provide for Creditor’s claim and is not feasible. Specifically, Debtor’s
   4 Plan fails to provide for a cure of Creditor’s pre-petition claim in full and Debtor lacks adequate

   5 disposable income to fund the Plan as proposed and cure the pre-petition arrears owing to Creditor
   6 over the duration of the Plan. Debtor’s Plan indicates Debtor’s intention to obtain a loan

   7 modification from Creditor though there is currently no active loss mitigation review. For the reasons

   8 set forth herein, the Court should deny confirmation of the Debtor’s Chapter 13 Plan.
   9                                           2) STATEMENT OF FACTS

  10              1.      Creditor’s claim is evidenced by a promissory note executed by Debtor Emma I.
  11 Ocampo and Rodney Marinduque (collectively the “Borrowers”), and dated July 23, 2004, in the
  12 original principal sum of $472,800.00 (the "Note"). A copy of the Note is attached to Creditor’s

  13 proof of claim no. 2 as filed on the Court’s claims register (“CCR”) in the instant bankruptcy case

  14 and incorporated herein by reference.
  15              2.      The Note is secured by a deed of trust (the “Deed of Trust2”) encumbering the real
  16 property commonly known as 19127 Amber Valley, Walnut, CA 91789 (the “Subject Property”). A

  17 copy of the Deed of Trust is attached to Creditor’s proof of claim no. 2 as filed in the instant
  18 bankruptcy case and incorporated herein by reference.
  19              3.      Subsequently, the Note was indorsed in blank thereby converting the Note to a bearer

  20 instrument. Creditor, directly or through an agent, is in possession of the original promissory note

  21 indorsed in blank. See CCR, Claim No. 2.
  22              4.      The terms of the Subject Loan were subsequently modified pursuant to a Home

  23 Affordable Modification Agreement. A copy of the Home Affordable Modification Agreement is

  24 attached to Creditor’s proof of claim no. 2 as filed in the instant bankruptcy case and incorporated
  25 herein by reference.

  26              5.      On August 17, 2020, Debtor filed the instant Chapter 13 bankruptcy petition in the

  27

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           The Note and Deed of Trust are collectively referred to herein as the “Subject Loan.”
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   1 United States Bankruptcy Court for the Central District of California, Los Angeles Division, and was
   2 assigned case number 2:20-bk-17469-SK.

   3          6.        On August 28, 2020 the Debtor filed her Chapter 13 Plan (the “Plan”) providing for
   4 monthly payments to the Trustee in the total amount of $100.00, for 6 months, then $830.00, for the

   5 remaining 54 months of the Plan. Of the sum paid to the Chapter 13 Trustee, Creditor will be paid
   6 $623.28 per month for 60 months on its pre-petition arrears, which are listed in the amount of

   7 $37,396.87. (See Docket No. 13).

   8          7.        On August 28, 2020 the Debtor filed Schedules I and J reflecting disposable income
   9 in the amount of $110.12 per month. (See Docket No. 14).

  10          8.        On September 4, 2020, Creditor filed its proof of claim (the “Proof of Claim”)
  11 secured by the Subject Property with a total outstanding balance in the amount of $591,697.13, and a
  12 pre-petition arrearage claim of $50,417.03. See CCR, Claim No. 2.

  13          9.        Debtor’s Plan indicates Debtor’s intention to obtain a loan modification with Creditor

  14 though there is no active loss mitigation review pending as of the filing of this Objection.
  15                                              3) ARGUMENT
  16          A.        DEBTOR’S CHAPTER 13 PLAN CANNOT BE CONFIRMED AS
                        PROPOSED.
  17
  18          The provisions of 11 United States Code (“US.C.”) Section 1325 set forth the requirements
  19 for the Court to confirm a Chapter 13 Plan. The burden is on the debtor to demonstrate that the plan

  20 meets the conditions essential for confirmation. Warren v. Fidelity & Casualty Co. of N.Y. (In re

  21 Warren), 89 B.R. 87, 93 (B.A.P. 9th Cir. 1988). For the reasons detailed herein, the Debtor fails to
  22 meet this burden.

  23               1.   Debtor’s Chapter 13 Plan Cannot Be Confirmed Because it Does Not Provide
                        for the Full Value of Creditor’s Claim.
  24
  25          11 U.S.C. Section 1325(a)(5)(B)(ii) requires a debtor’s Chapter 13 Plan to distribute at least

  26 the allowed amount of a creditor’s secured claim. See 11 U.S.C. § 1325(a)(5)(B)(ii). Furthermore,

  27 the requirement that a debtor provide for the full value of a creditor’s secured claim is mandatory for

  28 plan confirmation. See Barnes v. Barnes (In re Barnes), 32 F.3d 405, 407 (9th Cir. 1994); see also In

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   1 re Lucas, 3 B.R. 252, 253 (Bankr. S.D. Cal. 1980)(“In order to confirm any Chapter 13 Plan, the
   2 court must be satisfied…that the plan meets all the requirements of § 1325(a).”). The burden lies

   3 with the debtor in demonstrating compliance with section 1325(a). Chinichian v. Campolongo (In re
   4 Chinichian), 784 F.2d 1440 (9th Cir. 1986).

   5          The Debtor’s Plan cannot be confirmed as proposed because it fails to properly provide for
   6 the cure of Creditor’s pre-petition arrears. As previously discussed, Creditor’s claim for pre-petition

   7 arrears is in the total amount of $50,417.03. See CCR, Claim No. 2. However, the Debtor’s Chapter

   8 13 Plan provides for the cure of only $37,396.87. As the Debtor’s Plan fails to provide for a cure of
   9 Creditor’s pre-petition arrears, it fails to satisfy 11 U.S.C. Section 1325(a)(5)(B)(ii) and cannot be

  10 confirmed as proposed.
  11              2. Debtor’s Chapter 13 Plan Cannot Be Confirmed Because It Does Not Promptly
                     Cure Creditor’s Pre-Petition Arrears as Required Under 11 U.S.C. § 1322(b)(5).
  12

  13          Section 1322(b)(5) of the Bankruptcy Code provides for the curing of any default on a

  14 secured or unsecured claim on which the final payment is due after the proposed final payment under
  15 the plan. Creditor’s secured claim consists of $50,417.03 in pre-petition arrears, however, Debtor’s
  16 Plan provides for the cure of only $37,396.87 in arrears. As a result, Debtor will have to increase her

  17 monthly payment through the Chapter 13 Plan to Creditor to approximately $840.29 in order to cure
  18 Creditor's pre-petition arrears over a period not to exceed sixty (60) months. As the Debtor’s Plan
  19 fails to promptly cure Creditor’s pre-petition arrears, it cannot be confirmed as proposed.

  20              3. Debtor’s Chapter 13 Plan Cannot Be Confirmed Because It Is Not Feasible.
  21          11 U.S.C. Section 1325(a)(6) requires debtors to be able to make all plan payments and to
  22 comply with the terms set forth in the plan. A reviewing court should confirm a plan only if it

  23 appears under all circumstances that the plan has a reasonable likelihood of success. In re Craig, 112

  24 B.R. 224, 225 (Bankr. N.D. Ohio 1990) (citing In re Anderson, 28 B.R. 628, 630 (Bankr. S.D. Ohio
  25 1982). Here, the Debtor has not provided sufficient evidence that her Chapter 13 Plan is feasible.

  26          Debtor’s Schedule J indicates that the Debtor has disposable income of $110.12 per month.

  27 However, the Debtor proposes to apply $830.00 per month to her Chapter 13 Plan starting in month

  28 7. In addition, the Plan understates the pre-petition arrears owing to Creditor by $13,020.16 which

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   1 will require increased plan payments of at least $840.29 in order to cure the pre-petition arrears
   2 owing to Creditor over a period not to exceed sixty (60) months. Although the plan indicates Debtor

   3 will apply for a loan modification with Creditor, at the present time there is no active loss mitigation
   4 review. As the Debtor’s proposed Plan payment exceeds her monthly disposable income and Debtor

   5 lacks adequate disposable income to provide for a prompt cure of the pre-petition arrears owing to
   6 Creditor in sixty (60) months as required by 11 U.S.C. Section 1322(b)(5), Debtor’s Plan does not

   7 have a reasonable likelihood of success and cannot be confirmed as proposed.

   8          WHEREFORE, Creditor respectfully requests:
   9          i)      That confirmation of the Debtor’s Chapter 13 Plan be denied; or

  10          ii)     Alternatively, that the Plan be amended to provide for the pre-petition arrears listed in
  11 Creditor's Proof of Claim to be paid within a period not to exceed sixty (60) months; and
  12          iii)    That Debtor file amended schedules to support the feasibility of the amended plan

  13 payments required to cure the pre-petition arrears owing to Creditor over sixty (60) months; and

  14          iv)     For such other and further relief as this Court deems just and proper.
  15
  16                                                    Respectfully submitted,

  17 Dated: October 18, 2020                            ALDRIDGE PITE, LLP
  18
  19                                              By:
                                                        JOSEPH C. DELMOTTE (SBN 259460)
  20                                                    Attorneys for Secured Creditor
                                                        HSBC Bank USA, National Association as Trustee
  21                                                    for Sequoia Mortgage Trust 2004-9
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                       4375 Jutland Drive, Suite 200 P.O. Box 17933 San Diego, CA 92177-0933


A true and correct copy of the foregoing document entitled (specify): Objection to Confirmation will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
October 23, 2020         I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

Debtor’s Attorney: Stephen S Smyth stephen@smythlo.com
Chapter 13 Trustee: Kathy A Dockery (TR) EFiling@LATrustee.com
U.S. Trustee: ustpregion16.la.ecf@usdoj.gov
                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) October 23, 2020                      I caused the following persons and/or entities at the last known addresses in
this bankruptcy case or adversary proceeding to be served by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Debtor:
Emma I. Ocampo
19127 Amber Valley Drive
Walnut, CA 91789

Presiding Judge:
Honorable Sandra R. Klein
Central District of California - Los Angeles Division
U.S. Bankruptcy Court
Roybal Federal Building
255 East Temple Street, Room 1582
Los Angeles, CA 90012-3300
                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 October 23, 2020                    CIARA M. REBOYA                                            /s/ CIARA M. REBOYA
 Date                                 Printed Name                                              Signature


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
